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22-1569

 

IN THE

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UNITED STATES COURT OF APPEALS

FOR THE FIRST CIRCUIT

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Paul Jones
Plaintiffs-Appellant,
Vv.

Massachusetts Regional Transit Authority et. al,

Defendant-Appellee.

 

ON APPEAL FROM THE U.S. DISTRICT COURT FOR THE DISTRICT OF
MASSACHUSETTS

NO: 419-CV-110933 (HONORABLE TIMOTHY S. HILLMAN)

APPELLANTS MOTION TO FILE NOTICE OF SUPPLMENTAL AUTHORITY

(ESTABLISHED BUSINESS RELATIONSHIP)

 
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After this Appeal was fully briefed and submitted, on Dec 16, 2022, the First Circuit
held under similar allegations as here in this appeal in Murray v. Grocery Delivery
E-Servs., 55 F.4th 340 (1st Cir. 2022) the Established Business Relationship does
not apply to NDNC individuals who terminated the relationship and defense to
NDNC claims that does not apply to IDNC claims to individuals that asked not to
be called and place on appellees Internal Do Not Call List as appellant did. See

below:

(1) “HelloFresh's "established business relationship" argument does not apply to
NDNC class members who terminated their subscriptions at least eighteen months
before receiving the calls. 47 C.F.R. § 64.1200(f)(5).” Murray v. Grocery Delivery E-

Servs., 55 F.4th 340, 348 (1st Cir. 2022).”

(2) While the elements of this claim are similar albeit not identical to those of the
NDNC claim, there is an "established business relationship" defense to NDNC
claims that does not apply to IDNC claims. 47 C.F.R. § 64.1200(6)(5) (15).” “Murray

v. Grocery Delivery E-Servs., 55 F.4th 340, 347 (1st Cir. 2022)

The First Circuit Appeals court’s Dec 16, 2022, order, which is attached to this
motion as Exhibit 1, squarely addresses the EBR question which conflicts with the
Magistrates RR which was accepted and adopted by the lower court’s 12 (b)(6)

Motion to Dismiss order with prejudice which appellant timely opposed.

 
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The record before this court shows appellees did not have an "established business
relationship" when they placed the calls to appellant, because appellees received
three (3) Certified Return Receipts letters terminating and revoking any EBR or
consent appellees may have thought from appellant which the court ignored
(Revocation Letters). See Appellant RB 419. See also OB ¢ 11. Docket 7 Exhibit 1.

See also See Murray v. Grocery Delivery E-Servs., 55 F.4th 340, 348 (1st Cir. 2022).

The RR conflicting arguments to Murray on EBR which the court accepted and
adopted, arguments specifically for dismissing plaintiffs Count I, 47 U.S.C. §
227(b)(1)(A)Gii) and Count II, 47 U.S.C. § 227(c)(5) with prejudice on a 12(b)(6) were
as follows: “Plaintiff premised his TCPA claims on this established business
relationship with Defendants," See Jones v. Montachusett Reg Transit Auth.,

CIVILACTION No. 4:19-cv-11093-TSH, at *7,*8 (D. Mass. Feb. 7, 2020).,

The RR further stated : Thus, the calls are squarely within the scope of the TCP A's
"established business relationship" exception. In re Rules Implementing, 30
F.C.C.R. 7961 at 7979-80,the calls were made for any other reason other than the
parties' established business relationship. [Am. Com pl. at 1 83]". Jones v.
Montachusett Reg'l Transit Auth., CIVIL ACTION No. 4:19-cv-11093-TSH, at *8 (D.

Mass. Feb. 7, 2020). See OB J] 20-22.

 
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Appellees conflicting arguments to Murray on the EBR were: "The fact that Plaintiff
provided MART with a different telephone number is irrelevant. The telephone calls
being made to his cell phone - the telephone number he provided — are being made
for the purpose of offering services to CCRD and not to him as a consumer.
Accordingly, the calls are not those that the TCPA were meant to protect". See
appellants RB 915, See also Appellees MTD. Doc. 33 9] pgs. 7- 8. Also See Atkinson
v. Pro Custom Solar LLC, No. SA-21 ‘CV-00178- OLG, at *9 (W.D. Tex. Sep. 1,

2022)2

Appellees further conflicting arguments to Murray on the EBR were “ the TCPA
also does not apply to Jones because he had a prior “established business

relationship” with MART. 47 U.S.C. § 227 (b)(1)(C)@). See AB {| pg.14.

This overwhelming decision in Murray establishes that the EBR does not apply
when an individual like appellant terminated an EBR as plaintiff did. See OB 4

11, See also RB { 19 - 20, 27, 29, 31, 32, 38, 42 — 46, See also RB footnote 3.

Respectfully submitted, Paul Jones /s/ Paul Jones
572 Park Street
Stoughton, Ma 02072
Pj22765@gmail.com
617-939-5417

 

2 Appellees AB further state in footnote 6"By providing MART with an alternate
number, Jones did not effectively revoke consent to be contacted by phone for the
purposes of their established business relationship, nullifying his claim under the
TCPA.

 
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CERTIFICATE OF SERVICE

I hereby certify that on March 138, 2023, I emailed mailed a copy to all counsel of

records, which will cause a copy to be served on all parties of record.

Respectfully submitted.

Paul Jones /s/ Paul Jones Appellant
572 Park Street

Stoughton, Ma 02072
Pj22765@gmail.com

617-939-5417

Deborah I. Ecker, C.A. No. 60290
KP Law, P.C.

101 Arch Street, 12th Floor.
Boston, MA 02110-1109

(617) 556-0007
decker@k-plaw.com

 
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No. 21-1931
United States Court of Appeals, First Circuit

Murray v. Grocery Delivery E-Servs.

55 F.4th 340 (1st Cir. 2022)
Decided Dec 16, 2022

No. 21-1931
12-16-2022

Grace MURRAY ; Amanda Engen; Stephen Bauer; Jeanne Tippett; Robin Tubesing; Nikole Simecek; Michelle
McOsker; Jacqueline Groff; Heather Hall, on Behalf of Themselves and All Others Similarly Situated,
Plaintiffs, Appellees, v. GROCERY DELIVERY E-SERVICES USA INC., d/b/a HelloFresh Defendant,
Appellee, Sarah McDonald, Objector, Appellant.

Eric Alan Isaacson, with whom C. Benjamin Nutley was on brief, for appellant. Stacey Slaughter, with whom
Brenda L. Joly, Marcus A. Guith, Robins Kaplan LLP, Anthony I. Paronich, Samuel J. Strauss, and Turke &
Strauss LLP were on brief, for appellees Grace Murray, Amanda Engen, Stephen Bauer, Jeanne Tippett, Robin
Tubesing, Nikole Simecek, Michelle Mcosker, Jacqueline Groff, and Heather Hall. Shannon Z. Petersen, with
whom Karin Dougan Vogel and Sheppard, Mullin, Richter & Hampton LLP were on brief, for appellee
Grocery Delivery E-Services USA Inc.

KAYATTA, Circuit Judge.

Eric Alan Isaacson, with whom C. Benjamin Nutley was on brief, for appellant.

Stacey Slaughter, with whom Brenda L. Joly, Marcus A. Guith, Robins Kaplan LLP, Anthony I. Paronich,
Samuel J. Strauss, and Turke & Strauss LLP were on brief, for appellees Grace Murray, Amanda Engen,
Stephen Bauer, Jeanne Tippett, Robin Tubesing, Nikole Simecek, Michelle Mcosker, Jacqueline Groff, and
Heather Hall.

Shannon Z. Petersen, with whom Karin Dougan Vogel and Sheppard, Mullin, Richter & Hampton LLP were on
brief, for appellee Grocery Delivery E-Services USA Inc.

Before Lynch, Kayatta, and Gelpi, Circuit Judges.
KAYATTA, Circuit Judge.

We consider in this case a challenge to the approval of a class-action settlement under Federal Rule of Civil
Procedure 23(e). For reasons we will explain, we vacate the approval because the absence of separate
settlement counsel for distinct groups of class members makes it too difficult to determine whether the

3 settlement treated class members equitably. We also *343 hold that incentive payments to named class

representatives are not prohibited as long as they fit within the bounds of Rule 23(e).

I.

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HelloFresh is a subscription service that ships a recipe and ingredients for a meal to your doorstep. In 2015,
HelloFresh initiated a so-called "win back" marketing campaign, in which it used telemarketing contractors to
contact former subscribers in an attempt to win them back as customers. Plaintiffs in this class action allege
that this marketing campaign violated the Telephone Consumer Protection Act (TCPA) in three different ways:
(1) by using an automated dialer to place marketing calls to some people, 47 U.S.C. § 227(b)(1)(A) ; (2) by
calling some people listed on the National Do-Not-Call (NDNC) registry, 47 U.S.C. § 227(c)(5) ; 47 C.ER. §
64.1200(c)(2) ; and (3) by calling some people who had requested that HelloFresh not call them (and therefore
were required to be on HelloFresh's federally mandated internal do-not-call (IDNC) list), 47 U.S.C. § 227(c)(5)
347 CER. § 64.1200(d). We will call those three claims, respectively, the Auto-Dialer claim, the NDNC claim,
and the IDNC claim.

After litigation commenced, HelloFresh entered mediated settlement discussions with the named plaintiffs. In
the settlement negotiations, plaintiffs' counsel acted jointly on behalf of all prospective class members
possessing one or more of the three potential claims arising out of HelloFresh's "win back" campaign. The
parties eventually arrived at a proposed settlement conditioned on court approval. The district court
preliminarily approved the settlement, pursuant to which HelloFresh agreed to pay $14 million to a settlement
class. For purposes of the settlement only, see Fed. R. Civ. P. 23(e), the district court certified a single class,
with no subclasses, consisting of about 4.8 million customers and former customers defined as follows:

All persons in the United States from September 5, 2015 to December 31, 2019 to whom HelloFresh,
either directly or by a vendor of HelloFresh, (a) placed one or more calls on their cellphones via a
dialing platform; (b) placed at least two telemarketing calls during any 12-month period where their
phone numbers appeared on the NDNCR for at least 31 days before the calls; and/or (c) placed one or
more calls after registering the landline, wireless, cell, or mobile telephone number on HelloFresh's
Internal Do-Not-Call List.

Email notice to 4.4 million class members and post card notice to 400,000 class members ensued.
Approximately 100,000 class members submitted valid claims, while 270 opted out. Under the settlement as
preliminarily approved, each class member who submitted a valid claim would have received about $89 (net of
proposed counsel fees and expenses).

Three individuals filed objections. One contended that HelloFresh should pay nothing. Another asserted that
class members were not being paid enough. The third objector -- Sarah McDonald, appellant here -- filed the
most substantial objections. McDonald explained why she viewed the $14 million payout as too small
compared to potential statutory damages of over $2.4 billion. She argued that no single lawyer or group of
lawyers could adequately negotiate and recommend a settlement jointly on behalf of three subgroups having
materially different claims. As a result, she contended, the settlement sold out class members who were on the
NDNC registry -- whose claims she says are the most valuable -- by placing them on equal footing with
members in the other two groups, whose claims she says are *344 virtually worthless. McDonald also objected
to the use of incentive awards for the named plaintiffs. Finally, she contended that class counsel were getting
too much of the pie, that the settlement should add restrictions on HelloFresh's future use of phone calls, and
that class counsel failed to support their claim for litigation expenses.

On the first day of the final approval hearing on May 11, 2021, the district court gave McDonald's counsel and
plaintiffs' counsel time to discuss each of McDonald's objections. After argument, the court stated that the
objections were "most respectfully taken into account" and that it had not yet determined how they would

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"work their way into the Court's final order." The court independently asked counsel to brief whether the
settlement protected the class from being subject to "an anticonsumer mandatory arbitration clause."

Ata follow-up hearing on June 9, 2021, the court rejected the settlement because of the arbitration issue. It
explained that it would approve the settlement if HelloFresh would not require the arbitration of any future
claim by any class member, to ensure that "HelloFresh will not, in the future, use a consumer mandatory
arbitration clause as a cover." The court did not express any concerns about the amount of the settlement fund.

The parties then submitted an amended settlement agreement that addressed the court's arbitration concerns.
Under the amendment, HelloFresh agreed that it would not seek to compel arbitration of future TCPA claims
that class members might bring. On the final day of the hearing, September 29, 2021, the district court began
by stating that each class member submitting a claim should receive more of the settlement award -- $100
rather than $89. This was in line with one of McDonald's concerns. The district court explained that this change
would reduce class counsel's share from about 33% to about 25.5%. After HelloFresh and class counsel agreed
to the adjustment, the district court approved the settlement as "fair, adequate, and reasonable." Although the
court explained that it had "noted and indeed in slight measure t[ook] into account [the] objections," it did not
provide detailed reasoning for rejecting most of the objections. The court decided to "adopt [the settlement
agreement] with a payout to each claimant of $100 and the attorneys' fees," and it entered an order and
judgment on October 15, 2021, certifying the proposed class for purposes of a settlement and approving the
proposed settlement.

McDonald timely appealed the approval of the settlement.

Il.

The "approval or rejection of a class-action settlement is entrusted to the district court's informed discretion"
and is accordingly reviewed "for abuse of that discretion -- a multifaceted standard under which we scrutinize
embedded legal issues de novo and factual findings for clear error." Cohen v. Brown Univ., 16 F.4th 935, 946
(1st Cir. 2021) (citing Robinson v. Nat'l Student Clearinghouse, 14 F.4th 56, 59 (1st Cir. 2021) ).

 

McDonald's principal argument below and on appeal rests on the contention that persons like her who signed
up on the NDNC registry had materially stronger and more valuable claims than other class members without
NDNC claims. Therefore, she reasons, it was inadequate for these groups to be represented by the same counsel
in determining whether and to what extent their shares of the settlement proceeds should differ. And she
contends that this unfair process led to an inequitable result in which all class members *345 received equal
shares, even though some had more valuable claims. McDonald also raises a separate argument that the
inclusion of incentive awards for the class representatives rendered the settlement defective. We discuss these
arguments in turn.

A.

We analyze adequacy of representation through the lens of Rule 23(e) for the purposes of this appeal, although
much, if not all, of our analysis would apply to Rule 23(a)'s adequate representation requirement in the context
of class certification for settlement. See Cohen, 16 F.4th at 945 (stating that, because Rule 23(e)(2)(A)
"overlaps with other requirements imposed by Rule 23, we look to case law glossing the stipulation that ‘the
representative parties will fairly and adequately protect the interests of the class’ " in Rule 23(a)(4) (internal
citation omitted)).

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Rule 23(e) requires district courts to consider certain factors in determining whether a proposed settlement is
"fair, reasonable, and adequate." Fed. R. Civ. P. 23(e)(2). These factors include procedural checks: that "the
class representatives and class counsel have adequately represented the class" and that "the proposal was
negotiated at arm's length." Fed. R. Civ. P. 23(e)(2)(A)(B). They also include substantive checks: that "the
relief provided for the class is adequate" and that "the proposal treats class members equitably relative to each
other." Fed. R. Civ. P. 23(e)(2)(C}H(D) ; see Cohen, 16 F.4th at 943-44 (noting that "[t]he Advisory Committee
explained that the first two factors are ‘procedural’ in nature," while "the latter two factors guide ‘a
"substantive" review’ ").

We train our attention in the first instance on the procedural checks because they provide assurance that the
settlement resulted from a process likely to achieve a fair outcome, thereby providing "an important foundation
for scrutinizing the substance of the proposed settlement." Fed. R. Civ. P. 23(e)(2)(A)1B) advisory committee's
note to 2018 amendments. In particular, the adequate representation inquiry " ‘serves to uncover conflicts of
interest between named parties and the class they seek to represent.’ Such conflicts undermine the
indispensable ‘structural assurance of fair and adequate representation for the diverse groups and individuals
affected’ by the class-action litigation or settlement." Cohen, 16 F.4th at 945 (quoting Amchem Prods., Inc. v.
Windsor, 521 U.S. 591, 625, 627, 117 S.Ct. 2231, 138 L.Ed.2d 689 (1997) ).

 

In the class settlement context, conflicts sometimes arise because there is a common fund -- i.e., an aggregate
proposed settlement amount covering all claims -- that must be allocated among class members. In these zero-
sum circumstances, a benefit to one group of class members (in the form of a larger portion of the common
fund) comes at the detriment of the other class members (who receive a smaller portion as a result). This
presents a concern that the class representatives or class counsel may "have sold out some of the class
members" by allocating some of their fair share to other class members. 4 William B. Rubenstein, Newberg and
Rubenstein on Class Actions § 13:56 (6th ed., June 2022 update). Therefore, adequate representation in the
settlement context sometimes requires separate representation for groups of class members with differing
interests.

Not all conflicts require separate representation, however. "The standard ... is not ‘perfect symmetry of interest’
among the class." Cohen, 16 F.4th at 945 (quoting Matamoros v. Starbucks Corp., 699 F.3d 129, 138 (1st Cir.
2012) ). Rather, *346 because "[t]he perfect is sometimes the enemy of the good," only those conflicts that "are

 

fundamental to the suit and ... go to the heart of the litigation" breach the adequacy-of-representation standard.
Id. at 945-46 (quoting Matamoros, 699 F.3d at 138 ). "Put another way, ... the intra-class conflict must be so
substantial as to overbalance the common interests of the class members as a whole." Matamoros, 699 F.3d at
138. On the other hand, "intra-class conflict is unacceptable when it presents an actual and substantial risk of
skewing available relief in favor of some subset of class members." Cohen, 16 F.4th at 950.

Whether potential differences in claim value give rise to conflicts requiring separate representation turns on the
nature of the differences between the claims. Class actions in which all class members have materially common
claims are unlikely to require separate representation. See, e.g., Hanlon v. Chrysler Corp., 150 F.3d 1011, 1021
(9th Cir. 1998). In such cases, any differences in claim value would likely be subject to objective calculation, or
so obviously miniscule that the transactional costs of debating them would outweigh any resulting incremental
increases in fairness. Therefore, such differences would be unlikely to "overbalance the common interests of
the class members as a whole" in obtaining the largest settlement possible without running up transaction costs.
Matamoros, 699 F.3d at 138.

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By contrast, if "easily identifiable categories of claimants," Ortiz v. Fibreboard Corp., 527 U.S. 815, 832, 119
S.Ct. 2295, 144 L.Ed.2d 715 (1999), have significantly different claims, or if their claims are subject to
significantly different defenses, the lack of separate representation "presents an actual and substantial risk of
skewing available relief in favor of some subset of class members," Cohen, 16 F.4th at 950. Significant
differences in contested claims or defenses have the potential to cause significant differences in claim value,
which should be reflected in any fair settlement. See, e.g., Principles of the L. of Aggregate Litig, § 3.05 cmt. b
(Am. L. Inst. 2010) ("[A]n agreement that gives the same monetary remedy to all members of the class, despite
significant differences in the nature of their claims ..., may not be fair and reasonable."). Therefore, any such
significant differences should factor into negotiations regarding allocation of the settlement among groups of

 

 

 

class members. And if each group of similarly situated class members participates in those negotiations through
counsel owing allegiance only to that group, the court has some structural assurance that a negotiated
agreement accounts for any differences between the claims.

That structural assurance is absent when a single lawyer represents groups with significantly different claims in
the context of allocating a lump-sum settlement. It is unreasonable to expect such a lawyer to properly advocate
for each such group because giving one group a larger piece of the pie necessarily reduces the amount available
to a different group. Id. § 2.07 cmt. d ("Structural conflicts also might arise from easily identifiable differences
in the claims to be aggregated, such that a common lawyer could not reasonably advance the interests of all
claimants."). Such a lawyer would be limited in advancing the best arguments in favor of one claim relative to
another because of the lawyer's duties to class members holding the latter claim. Cf. Model Rules of Pro.
Conduct r. 1.7(a)(2) (Am. Bar Ass'n 1983) (stating that a conflict of interest exists if "there is a significant risk
that the representation of one or more clients will be materially limited by the lawyer's responsibilities to
another client"). Therefore, if groups of class members with significantly *347 different claims do not have
separate representation in determining how the settlement should be split, the court lacks structural assurance
F.3d 242, 253 (2d Cir. 2011) ("[H]ow can the value of any subgroup of claims be properly assessed without
independent counsel pressing its most compelling case?").

For example, in Literary Works, the Second Circuit considered a settlement of $18 million divided among class
members holding three different categories of claims under the Copyright Act. Id. at 246. Depending on the
status and timing of registration of the works at issue, the claims were (A) eligible for statutory damages and
attorneys’ fees; (B) eligible only for actual damages and profits of the infringer; or (C) potentially eligible for
actual damages and profits of the infringer (depending on whether the works were registered). Id. The Second
Circuit held that this breakdown required separately represented subclasses because "[t]he selling out of one
category of claim for another [was] not improbable." Id. at 252. Accordingly, "[o]nly the creation of subclasses,
and the advocacy of an attorney representing each subclass, [could] ensure that the interests of that particular
subgroup [were] in fact adequately represented." Id.

Superficially, it might seem that all class members in this case share a common claim: they all allege that a
telemarketing campaign conducted by HelloFresh violated the TCPA, 47 U.S.C. § 227. The TCPA, however,
does not create a single cause of action. Rather, it authorizes suit and recovery for a variety of quite different

acts.

For example, NDNC claims are based on one prong of the TCPA and its implementing regulations applying
only to telephone calls made to residential telephone subscribers who are on a national do-not-call list. 47
U.S.C. § 227(c)(5) ; 47 C.F.R. § 64.1200(c)(2). The elements of such a claim are: (1) a residential telephone
subscriber (2) received more than one telephonic solicitation (3) by or on behalf of the same entity (4) during a

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twelve-month period (5) to a number that the subscriber registered on the NDNC registry. 47 U.S.C. § 227(c)
(5) ; 47 CER. § 64.1200(c)(2). By contrast, an Auto-Dialer claim arises under a different section of the TCPA,
and only if: (1) at least one call is made (2) using an automatic telephone dialing system (3) without consent of

the called party and not for emergency purposes (4) to a number assigned to certain types of telephone services.
47 U.S.C. § 227(b)(1)(A)(iii).

Yet a third type of claim, the IDNC claim, arises if (1) a residential telephone subscriber (2) receives more than
one call for telemarketing purposes (3) by or on behalf of the same entity (4) during a twelve-month period (5)
within five years of asking the entity not to call them. 47 U.S.C. § 227(c)(5) ; 47 C.ER. § 64.1200(d). While
the elements of this claim are similar albeit not identical to those of the NDNC claim, there is an "established
business relationship" defense to NDNC claims that does not apply to IDNC claims. 47 C.F.R. § 64.1200(£)(5),
(15).

Each of these three types of claims is represented among the class members, and some class members have
multiple types of claims. In addition, HelloFresh has raised a smattering of defenses to these claims. Two of its
defenses apply to all three categories of claims: that HelloFresh is not liable because the calls were made by
third-party vendors, and that an arbitration clause and a class-action waiver in HelloFresh's terms and
conditions preclude class certification. The rest apply to fewer than all three categories. HelloFresh's *348
argument that the machine that made the calls was not an "automatic telephone dialing system" applies only to
the Auto-Dialer claims. Its argument that its calls were not "telephone solicitations" because it had an
"established business relationship" with its former customers, see 47 C.F.R. § 64.1200(f)(5), (15), applies only
to the NDNC claims. Its argument that cell phone users are not "residential telephone subscribers" applies to
the NDNC and IDNC claims. Its arguments that proving the NDNC and IDNC claims requires individualized,
fact-intensive inquiries unsuitable for class certification apply, respectively, to the NDNC and IDNC claims. Its
argument that it took required steps to ensure compliance with the NDNC and IDNC rules and that any calls in
violation of those rules were in error applies to the NDNC and IDNC claims, under different regulatory
provisions. See 47 C.F.R. § 64.1200(c)(2)(i), (d).

Moreover, some of those defenses apply differently (or with different force) even among class members within
each category of claim. For example, as HelloFresh acknowledges, its arbitration and class-action waiver
defense arguably applies more strongly to class members who signed up for HelloFresh after it added those
provisions to its terms and conditions in February 2017 than to those who signed up before. As another
example, HelloFresh's contention that cell phone users do not qualify as "residential telephone subscribers"
applies only to class members who received calls on cell phones -- not those who received calls on landlines.
As a third example, HelloFresh's "established business relationship" argument does not apply to NDNC class
members who terminated their subscriptions at least eighteen months before receiving the calls. 47 C.F.R. §
64.1200(f)(5).

Thus, the district court was confronted with a matrix of claims having different elements and confronting
different arrays of defenses. And at least some of these differences are significant in the sense that they go to
"the heart of the litigation." Cohen, 16 F.4th at 946 (quoting Matamoros, 699 F.3d at 138 ). Simply put, some
subgroups of the class could easily lose even as others win.

 

Of course, sometimes differences in elements or defenses that appear significant on their face may be rendered
insignificant in the context of a particular set of facts. For example, class members with an NDNC claim must
prove they are on the NDNC list, while class members with an IDNC claim must prove they are on
HelloFresh's internal do-not-call list. Although these are different elements, they may not be significant enough

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to require separate representation given the lack of any evidence that HelloFresh failed to honor its obligation
to keep an internal list and the possibility that it would be precluded from gaining any litigation advantage by
failing to do so. As a second example, HelloFresh's argument that cell phone users are not "residential
telephone subscribers" runs headlong into the FCC's express statements to the contrary. 18 FCC Red. 14014,
1403940 (2003) ; see, e.g., Hodgin v. Parker Waichman LLP, No. 3:14-CV-733, 2015 WL 13022289, at *3
(W.D. Ky. Sept. 30, 2015) ("[T]he FCC has been clear in interpreting ‘residential subscriber’ to include cell
phones."). So we do not hold that it would be an abuse of discretion to find that cell phone users and landline
users could be adequately represented by the same representatives and counsel.

On the other hand, some of the differences are, even in context, too significant to leave the equitable
apportionment of a common fund to a court's discretion uninformed by arm's-length negotiation between *349
separately represented groups. Most glaring is the example provided by the Auto-Dialer claim with its unique
element requiring plaintiffs to prove that an "automatic telephone dialing system" was used. It seems clear that
the Auto-Dialer claims are incompatible with the Supreme Court's opinion in Facebook, Inc. v. Duguid, ——
U.S. —,, 141 S. Ct. 1163, 209 L.Ed.2d 272 (2021), because the devices used to make HelloFresh's calls did
not "have the capacity either to store a telephone number using a random or sequential generator or to produce
a telephone number using a random or sequential number generator," id, at 1167. McDonald argues as much;
HelloFresh concedes that "McDonald's position is consistent with HelloFresh's"; and plaintiffs' only rejoinder is
that perhaps HelloFresh's contractors did use random or sequential number generators. But the record is devoid
of support for this speculation, despite plaintiffs' assertion that they have a "clear view of the strength and
weaknesses" of their claims after engaging "in significant discovery" that produced "over 20,000 pages of
documents." So we think it hardly clear-cut that counsel representing class members with non-Auto Dialer
claims would not argue that those persons should receive more of the $14 million.

Plaintiffs nevertheless contend that Duguid is largely irrelevant to our inquiry because the parties in this case
agreed on the class settlement before Duguid was decided. Hence, plaintiffs argue, one could not have relied on
Duguid as a basis for thinking that the Auto-Dialer claims had no settlement value. But the unanimous result in
Duguid was hardly a surprise. The Supreme Court granted certiorari and held a reasonably foreshadowing oral
argument long before settlement negotiations in this case commenced. Facebook, Inc. v. Duguid, — U.S.
——,, 141 S. Ct. 193, 207 L.Ed.2d 1118 (2020) (granting certiorari on July 9, 2020); Transcript of Oral
Argument, Facebook, Inc. v. Duguid, 141 S. Ct. 1163 (2021) (No. 19-511) (oral argument held on December 8,
2020). In addition, the timeline of events suggests that the actual decision in Duguid had very little, if any,
impact on HelloFresh's valuation of the claims. Before Duguid was decided, HelloFresh was willing to pay $14
million to settle a basket of claims containing many Auto-Dialer claims. After Duguid was decided, the court's
initial refusal to approve the settlement without a further concession by HelloFresh gave the company a chance
to walk away from the deal or renegotiate a lower sum. Yet it was still willing to pay $14 million to settle the
same basket of claims. That suggests that HelloFresh's valuation of the Auto-Dialer claims was roughly

constant before and after the Duguid decision came down.

Other significant differences among class members result from the way the class is defined. As HelloFresh
points out, there is no viable NDNC claim for individuals with whom HelloFresh had an "established business
relationship" at the time of the calls -- i.¢., individuals who made a "purchase or transaction" with HelloFresh in
the eighteen months preceding the calls and did not ask HelloFresh not to call them. 47 C.F.R. § 64.1200(£)(5),
(15). This is especially pertinent in the context of this case, which centers on HelloFresh's campaign to "win
back" former subscribers. It seems obvious that the NDNC claims of class members who received HelloFresh's
calls within eighteen months after terminating their subscriptions (if those claims exist at all) are significantly

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weaker than the NDNC claims of those who terminated their subscriptions at least eighteen months before
receiving the calls. But the class is defined to include both of these groups, and the settlement treats them no
differently. *350 Similarly, the TCPA requires that an individual must have received "more than one telephone
call within any 12-month period" to bring an IDNC claim. 47 U.S.C. § 227(c)(5). But the IDNC group
comprises individuals who received "one or more calls," and the settlement does not distinguish between those
who received only one call and those who received multiple calls, despite the clear difference in claim value.

These significant differences between the claims of the various class members land this case quite far from
Cohen, which involved a settlement regarding the gender ratios of Brown University's athletes. In Cohen, we

 

rejected objectors' arguments that an intra-class conflict between women's sports teams -- some of which had
been demoted from varsity to club status, and others of which had retained varsity status -- required separate
representation. 16 F.4th at 950. Unlike here, the class members possessed the same claim with the same
elements (the ratio of women's varsity athletes as compared to men's athletes was low enough to violate Title
IX). And, unlike here, compromising the remedy that could result from successful litigation (a requirement that
Brown adjust the ratio of women's to men's varsity athletes) posed no significant potential for conflict. The
most significant potential conflict among class members concerned which teams Brown might elevate or
demote -- a decision which no class members could claim to be able to dictate, and which was not within the
purview of the settlement. Id. ("Under the Joint Agreement, every varsity team, regardless of gender, played at
Brown's pleasure ...."). So, for that reason, we found that "[t]he record simply does not suggest any reason to
believe that the class representatives' negotiations were apt to be skewed in favor of reinstating certain teams by
jettisoning others." Id. By contrast, here the class members possess claims having significantly different
elements and facing significantly different defenses. And each group has a legal basis for demanding more of
the lump sum -- an issue squarely posed by the proposed settlement -- because each group has a claim for
monetary damages (at least in theory) against HelloFresh.

At oral argument, counsel for HelloFresh contended that because the groups of class members "overlapped,"
their interests were more or less the same. Imagine, for example, that every class member with an Auto-Dialer
claim also had an NDNC claim. In that scenario, the alleged worthlessness of the Auto-Dialer claims in light of
Duguid would not be a good reason to depart from the common per-person payment of $100 called for by the
proposed settlement. So we asked counsel to submit letters pointing us to this overlap. Letters were filed, but
none supported the claim of any relevant overlap. They purportedly showed that eight of the nine named
plaintiffs had all three types of claims. But they provided no evidence that this ratio extended to the rest of the
class. HelloFresh also pointed out that less than 10% of class members with an NDNC claim had landlines,
suggesting that over 90% of those class members used cell phones and also have an Auto-Dialer claim. But this
is the wrong type of overlap; the relevant inquiry is how many class members with an (allegedly worthless)
Auto-Dialer claim also have an (allegedly more valuable) NDNC claim, not the other way around.

HelloFresh and plaintiffs finally contend that because each of the three types of claims faces significant
obstacles, their values are roughly equal. That is, they argue that the defenses HelloFresh raised to the NDNC
and IDNC claims are on par with the Duguid defense to the Auto-Dialer claims. But we do not think
HelloFresh's other defenses are as definitive as the Duguid defense, which essentially extinguishes *351 the
value of the Auto-Dialer claims. Plus, HelloFresh's continued willingness to pay $14 million to settle the entire
bundle of claims runs counter to the notion that they are all as weak as the Auto-Dialer claims appear to be on
the record as it now stands.

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In any event, plaintiffs' and HelloFresh's attempts to convince us that the significantly different claims
nevertheless have the same value largely miss the point. In theory, in the absence of arm's-length negotiations
by separately counseled representatives, a district court could try on its own to value each category of the
significantly different claims as discounted by the risks posed by the significantly different defenses applicable
to each claim. This is what plaintiffs and HelloFresh ask us to do. But we do not think that Rule 23 is intended
to work in this manner -- at least beyond requiring the district court to determine whether it is clear-cut that the
differences would likely have no material effect on settlement value. As described above, Rule 23(e) imposes
procedural requirements, including that the settlement was the product of "arm's length" negotiation by
individuals "adequately represent[ing] the class," Fed. R. Civ. P. 23(e)(2)(A)-(B), that are designed to provide
"structural assurance of fair and adequate representation" before the settlement reaches the court for approval.
Cohen, 16 F.4th at 945 (quoting Amchem, 521 U.S. at 627, 117 S.Ct. 2231 ). And this "structural assurance"
includes negotiations among counsel for each group of class members with materially differing interests as to

 

how the proposed settlement amount should be divided among those groups -- including negotiations regarding
the impact of significant differences on the relative values of the claims. Said differently, ensuring that claims
marked by significantly different elements or defenses receive appropriate relative weight in a class settlement
should be done in the first instance through negotiations between counseled representatives of the different
groups of class members, not by the district court, unless the appropriate relative weight is clear-cut. See
Literary Works, 654 F.3d at 253 ("We know that Category C claims are worth less than the registered claims,
but not by how much. Nor can we know this, in the absence of independent representation."). This procedural
safeguard "serve[s] to inhibit appraisals of the chancellor's foot kind -- class certifications dependent upon the
court's gestalt judgment or overarching impression of the settlement's fairness." Amchem, 521 U.S. at 621, 117
S.Ct. 2231.

To summarize, we find that the class as certified consists of class members with claims having significantly
different elements and facing some very different defenses. Furthermore, we cannot say that the relative values
of all of those different claims are sufficiently clear-cut so as to enable a court to approve a proposed
apportionment of a common fund among the claimants in the absence of any informed arm's-length
negotiation. Given these findings, the district court lacked the requisite basis for certifying the settlement class
and approving the allocation of the $14 million among class members as fair, reasonable, and adequate.!

| We do not address in this opinion a subject not raised by the parties -- the extent to which a class or classes may be
certified for litigation rather than settlement. Nor do we opine on the precise number of subclasses that would need to

be represented in concluding a lump-sum settlement of the present multi-claim class.

None of this is to say that a settlement like the proposed settlement cannot be approved. Arms-length
negotiators might *352 assess the differences in claim value as too insignificant to warrant the delay, expenses,
and risk of forgoing a global settlement. Such a conclusion put forward collectively by counsel for each distinct
group would provide a structural assurance of adequacy and fairness that is now missing. And the district court
would have a significantly more developed record upon which it can exercise its discretion under Rule 23(e).

B.

McDonald also challenges the incentive awards the settlement provides for the named plaintiffs. The district
court approved awards between $2,000 and $10,000 apiece for the named plaintiffs. McDonald argues that the
Supreme Court banned such payments in two 19th-century decisions and that, in this case, the incentive awards

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make the named plaintiffs inadequate representatives of the class. Neither contention is availing. Because this
issue will undoubtedly arise in the course of any attempt to negotiate a new settlement on remand, we address it
now.

1.

We begin by considering whether the Supreme Court has already rejected incentive awards for named plaintiffs
in Rule 23 class actions. It has not.

The Supreme Court did hold, well before the advent of Rule 23, that a court cannot allow a "creditor, suing on
behalf of himself and other creditors" to recover "personal services and private expenses" out of a common
fund. Internal Imp. Fund Trs. v. Greenough, 105 U.S. 527, 537, 26 L.Ed. 1157 (1881) ; see also Cent. R.R. &
Banking Co. v. Pettus, 113 U.S. 116, 122, 5 S.Ct. 387, 28 L.Ed. 915 (1885). McDonald argues that we should
apply these late-19th-century cases regarding creditor lawsuits over mismanagement of a fund to modern-day

 

 

class actions under Rule 23, thereby categorically prohibiting incentive awards for class representatives.

McDonald faces an uphill battle. Courts have blessed incentive payments for named plaintiffs in class actions
for nearly a half century, despite Greenough and Pettus. See 5 Rubenstein, supra, at §§ 17:2, 17:4 (describing
the history of modern incentive awards and explaining that Greenough "seems distant in both time and fact").
Two of our sister circuits have distinguished Greenough and declined to categorically prohibit incentive
payments. Melito v. Experian Mktg. Sols., Inc., 923 F.3d 85, 96 (2d Cir. 2019) ; In re Cont'l Ill. Sec. Litig,, 962
F.2d 566, 571-72 (7th Cir. 1992).

The Eleventh Circuit (in somewhat of an about-face) did recently bite on the Greenough argument. Johnson v.
NPAS Sols., LLC, 975 F.3d 1244, 1257 (11th Cir. 2020) ; but see Muransky v. Godiva Chocolatier, Inc., 922

 

same argument). It stated that class-action incentive awards were "roughly analogous" to the payments for
personal services in Greenough. Johnson, 975 F.3d at 1257.

We do not think the situations sufficiently analogous. In Greenough, a creditor's lawsuit against trustees in

 

charge of managing a common fund, the Supreme Court's concern was that "[i]t would present too great a
temptation to parties to intermeddle in the management of valuable property or funds in which they have only
the interest of creditors, and that perhaps only to a small amount, if they could calculate upon the allowance of
a salary for their time and of having all their private expenses paid." Greenough, 105 U.S. at 538. Said

 

differently, the Court was concerned that such awards would induce *353 creditors to interfere with the
management of funds that had already been entrusted to trustees charged with fiduciary duties to act in the best
interests of the creditors.

That is a different rationale than the one McDonald attributes to Greenough: "ensuring that named plaintiffs

 

will actually represent the interests of the class in whose name they sue." Greenough was concerned with a
creditor's relationship vis-a-vis the trustees, not the other creditors. Moreover, Rule 23(e) ensures that incentive
payments will not result in unfair settlements by requiring that any settlement be "fair, reasonable, and
adequate," taking into account whether "the class representatives ... have adequately represented the class" and
whether "the proposal treats class members equitably relative to each other." Fed. R. Civ. P. 23(e)(2) ; see
Johnson, 975 F.3d at 1266—67 (Martin, J., dissenting). And courts routinely enforce this requirement with
regard to incentive payments specifically. See, e.g,, Continental Illinois, 962 F.2d at 571-72 (upholding denial
of $10,000 award to named plaintiff); Schneider v. Chipotle Mexican Grill, Inc., 336 F.R.D. 588, 602—03 (N.D.

 

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Cal. 2020) (denying request for incentive awards under circumstances of case); In re Puerto Rican Cabotage
Antitrust Litig., 815 F. Supp. 2d 448, 469 (D.P.R. 2011) (reducing incentive award from amount requested to
reflect named plaintiffs' actual participation).

In addition, whereas in Greenough the Court wished to prevent "intermeddl[ing]" with fund management, Rule
23 is designed to encourage claimants with small claims to vindicate their rights and hold unlawful behavior to
account. See Smilow v. Sw. Bell Mobile Sys., Inc., 323 F.3d 32, 41 (1st Cir. 2003) ("The core purpose of Rule
23(b)(3) is to vindicate the claims of consumers and other groups of people whose individual claims would be
too small to warrant litigation."); Bais Yaakov of Spring Valley v. ACT, Inc., 798 F.3d 46, 49 (Ist Cir. 2015)
(noting that, through class actions, "Congress has chosen to empower citizens as private attorneys general to
pursue claims for well-defined statutory damages"). But Rule 23 class actions still require named plaintiffs to
bear the brunt of litigation (document collection, depositions, trial testimony, etc.), which is a burden that could
guarantee a net loss for the named plaintiffs unless somehow fairly shifted to those whose interests they
advance. See Continental Illinois, 962 F.2d at 571. In this important respect, incentive payments remove an
impediment to bringing meritorious class actions and fit snugly into the requirement of Rule 23(e)(2)(D) that
the settlement "treats class members equitably relative to each other."

Accordingly, we choose to follow the collective wisdom of courts over the past several decades that have
permitted these sorts of incentive payments, rather than create a categorical rule that refuses to consider the
facts of each case.

2.

McDonald also claims that the presence of incentive payments in this case created a conflict of interest that
rendered the named plaintiffs inadequate representatives of the class. This contention is unavailing. McDonald
presents little, if any, case-specific analysis for concluding that the form or substance of the incentive payments
called for by the proposed settlement prevented the named plaintiffs from adequately representing the class.
Instead, her argument relies primarily on a presumption that incentive awards inherently cause class
representatives to sell out the class. For all the reasons already described, we reject McDonald's contention that
incentive payments are categorically «354 improper. And we otherwise see no basis in the record to conclude
that the district court abused its discretion in entertaining the approval of incentive payments in this case.

We also note that McDonald's argument might be said to apply similarly to attorneys' fees, yet McDonald does
not suggest that the payment of a fee to class counsel out of the settlement proceeds raises a conflict that
categorically bars such payments. In either instance, a categorical prohibition on payments to those who make a
class recovery possible would likely work to the disadvantage of those who might have otherwise benefited by
a class recovery.

II.

For the foregoing reasons, we vacate the district court's approval of the proposed settlement and remand for

 

further proceedings consistent with this opinion. Costs are taxed in favor of the appellant Sarah McDonald and
against appellees, jointly and severally.

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